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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


JAKUB MADEJ
                                                              CIVIL ACTION NO.
                       PLAINTIFF                              3 :20-cv-00133-JCH

V.

YALE UNIVERSITY, MARVIN CHUN,
MARK SCHENKER, PETER SALOVEY AND :
JESSIE ROYCE HILL

                       DEFENDANTS
                                                              DECEMBER 14, 2020

                              AFFIDAVIT OF COLLEEN DAVIS

       I, Colleen Davis, being duly sworn, depose and say that:

       1.       I am over the age of eighteen years and believe in the obligation of an oath.

       2.       I am employed as an associate at Donahue, Durham & Noonan, P.C. and have

assisted in the defense of the above-captioned action.

       3.      In response to the Court's December 14, 2020 order requiring the plaintiff to file a

notice identifying the name, business address, and telephone number of the court reporter whom

the plaintiff had engaged for the depositions of Mark Schenker and Sarah Insley, the plaintiff

identified Falzarano Court Reporters, 4 Somerset Lane, Simsbury, CT 06070, 860-651-0258.

       4.      After receiving the plaintiff's notice, I called the phone number listed in the notice

and spoke with Dolores Falzarano of Falzarano Court Reporters, LLC.

       5.      Ms. Falzarano informed me that she had not been engaged to provide court

reporting services for any depositions in the above-captioned action.

       6.      After I informed Ms. Falzarano that Jakub Madej had filed a notice with the Court

indicating that her services had been retained, Ms. Falzarano responded that, had Jakub Madej
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asked to engage her for court reporting services for depositions in this action, she would have

declined because he has not paid for services rendered in or about June, 2020.

       7.       Ms. Falzarano explained that Jakub Madej had requested a copy of the transcript of

an October, 2015 oral argument in Bagley v. Yale University.

       8.       Ms. Falzarano further stated that, although the 83 page transcript was e-mailed to

Jakub Madej, he claimed to never have received it and stated that he no longer needed it. Jakub

Madej refused to pay for the services rendered.

       9.       Ms. Falzarano also informed me that a male, who did not identify himself, had

called her during the week of December 7, 2020 to inquire about court reporting services for the

week of December 14, 2020. Ms. Falzarano told the individual that she was unavailable the week

of December 14, 2020.



Dated at Guilford, Connecticut this 14th day of December, 2020.



                                                        ( r,              --
                                                       Colleen Davis



STATE OF CONNECTICUT
                                      ) ss. Guilford
COUNTY OF NEW HAVEN



       Subscribed and sworn to before me this 14th day of December, 2020.




                                                       Notary Public
                                                                            Deborah J. Hackett
                                                                              NOTARY PUBLIC
                                                                            State of Connecticut
                                                  2                    My Commission Expires 6/30/2023
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                                        CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court's electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court's CM/ECF System.


                                                                        /s/
                                                               Patrick M. Noonan




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